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                          UNITED STATES DISTRICT
                         COURT FOR THE DISTRICT OF
                                COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
        v.                                  : CRIMINAL NO. 21-MJ-00122 (RMM)
                                            :
MATHEW CAPSEL,                              :
    Defendant.                              :


              CONSENT MOTION TO CONTINUE PRELIMINARY HEARING

        The defendant, by and through his attorney, Christopher Davis, respectfully files this

Consent Motion to Continue the Preliminary Hearing in the above-captioned matter, currently

scheduled for April 5, 2021 until a date after June 4, 2021. In support thereof, the defendant

states as follows:

   1. On January 19, 2021, the defendant was arrested and charged by Criminal Complaint

        with one count of Obstruction, in violation of 18 U.S.C. § 243(a)(3); Assault, in

        violation of 18 U.S.C. § 111, and Unlawful Entry on Capitol Grounds, violation of 18

        U.S.C. § 1752(a)(1) and (4). On February 5, 2021, the Honorable Judge Meriweather

        ordered that the defendant remain on release subject to monitoring conditions. A

        preliminary hearing was set for March 4, 2021, and then continued by consent motion

        until April 5, 2021.

   2. The government and counsel for the defendant have conferred, and are continuing to

        communicate in an effort to resolve this matter. The government is also gathering

        discovery to provide to counsel for the defendant.

   3.    The parties, therefore, would respectfully request that the preliminary hearing be

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        continued until a date after June 4, 2021. The parties agree that the interests and ends

        of justice are best served and outweigh the interests of the public and the defendant in

        a speedy trial, and that this adjournment will allow the parties to continue negotiations

        in an effort to achieve a resolution before trial. Therefore, the parties agree that

        pursuant to 18 U.S.C. § 3161, the time from April 5, 2021 through the next court date

        shall be excluded in computing the date for speedy trial in this case.



       Wherefore, the parties respectfully request that the Court continue the Preliminary

Hearing in this matter until June 4, 2021, or to a date after that date convenient to the Court’s

calendar.
                                       Respectfully submitted,
                                                 /s/
                                     Christopher M. Davis #385582
                                     Counsel for Mathew Capsel
                                     Davis & Davis
                                     1350 Connecticut Avenue, NW
                                     Suite 202
                                     Washington, DC 20036
                                      202.234.7300


                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of this motion was served upon all counsel of record via the

Court’s CM/ECF System on this 5th day of April 2021.



                                              _________/s/____________________
                                              Christopher M. Davis




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